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                                                                                                      06/11/2021


                                    U.S. District Court, W.D. Virginia
                   Sines v. Kessler                                   Case: 3:17-cv-00072



                  RE 966 HEIMBACH'S TRIAL VENUE SUPPLEMENTARY BRIEF

  On August, 12th, 2017, I arrived in Charlottesville with the explicit invitation of a federal court.
  My organization, Traditionalist Worker Party, and I spent weeks working directly with
  Charlottesville Police Department on a plan which sought to ensure both our safety and the
  general safety of others at a permitted event. As corroborated by the objective, third-party
  Heaphy Report, and confirmed by the comprehensive discovery process, my organization and I
  executed our end of the plan to the best of our ability and the Charlottesville Police Department
  did not.

  In addition to going off plan and failing to communicate the most basic elements of our public
  safety plan to the officers, the Charlottesville Police Department has well-documented
  workplace culture and training issues that make it uniquely unsuited to protecting the safety and
  sanctity of this trial. "[The officers] described a culture of conformity within the [Charlottesville
  Police] Department that discourages officers from raising issues and providing feedback. These
  officers suggested that this hierarchical approach hampered the planning for the July 8 and
  August 12 events, as lieutenants, sergeants, and line officers were not sufficiently consulted or
  asked to provide input." [Independent Review of the 2017 Protest Events in Charlottesville,
  Virginia; Section IV - Resistance to Cooperation; A. Charlottesville Police Department]

  Plaintiffs’ counsel argues that the act of moving this trial from Charlottesville would be
  essentially futile due to the fact that people in Charlottesville who wish to physically attack the
  defendants could simply travel. This ignores the unusually biased nature of Charlottesville’s city
  government and its willingness to countenance breakdowns in public order for the sake of
  barring those they deem unwanted from their community.

  I witnessed with my own eyes numerous instances where counter-protesters used offensive
  violence against protesters in Charlottesville and the Charlottesville authorities did nothing to
  bring them to account. The message sent to me by the Charlottesville authorities is something I
  received loud and clear and I vow before you on this day to never again voluntarily set foot in
  Charlottesville, Virginia for so long as I live. If this court requires that I set foot in Charlottesville
  again I will, but otherwise I will not.

  The presence of many defendants to this case in the city of Charlottesville would be taken as
  provocative by that city, its residents, and its authorities on even the best of days. But how much
  more intense will their feelings be during what is being promoted by the plaintiff’s counsel as the
  “Scopes Monkey Trial of the 21st century?”

  Holding this trial in Charlottesville is not in the interest of public safety and could potentially
  undermine faith in the justice system itself.
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   Dated: June 09, 2021                                                    Respectfully Submitted,

                                                                            /s/ Matthew Heimbach
                                                                     Matthew W. Heimbach (pro se)
                                                                                        Defendant




                                       Certificate of Service

  I hereby certify that on June 09, 2021, I mailed a true and correct copy of this court document to
  the Clerk of the Court, who will provide electronic notice to all counsel of record.

                                  US District Court, W.D. Virginia
                                     255 W Main St, Ste 304
                                  Charlottesville, VA 22902-5058

  I further hereby certify that on June 09, 2021, I also served the following non-ECF participants,
  via mail and electronic mail, as follows:


   Richard Spencer                  Christopher Cantwell             Elliott Kline a/k/a Eli Mosley
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                                                                            /s/ Matthew Heimbach
                                                                     Matthew W. Heimbach (pro se)
                                                                                        Defendant




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